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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND
                               NORTHERN DIVISION

JENNELL BLACK, et al.                       *

       Plaintiffs,                          *

v.                                          *       Civil Case No.: 1:20-cv-03644-CCB

THOMAS WEBSTER, IV, et al.                  *       NOTICE OF DISMISSAL PURSUANT
                                                    TO FEDERAL RULES OF CIVIL
       Defendants.                          *       PROCEDURE 41(a)

*      *       *      *    *    *     *    *    *    *    *                       *       *   *
                       NOTICE OF DISMISSAL WITH PREJUDICE

       All Plaintiffs hereby dismiss with prejudice the Amended Complaint in the above-

captioned matter as to the following Defendants: (1) Thomas Webster, IV, (2) Michael Petyo, (3)

Gary Manos, (4) Dennis Lannon, (5) Jeannette L. Cleveland a/k/a Jeannette L. Delude, (6) Town

of Greensboro, (7) Town of Ridgely and (8) Town of Centreville.

       This dismissal with prejudice is made pursuant to Fed. R. Civ. P. 41(a).

Dated: August 4, 2022.

                                                    Respectfully submitted,

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                               CERTIFICATE OF SERVICE

        I hereby certify that on this 4th day of August, 2022, I have served upon the following
opposing parties in this matter with a copy of the foregoing, using electronic mail and using the
CM/ECF system, which will automatically send notification of such filing to all attorneys of
record, and that I will retain the originals of these documents in my possession, without alteration,
until the case is concluded in this Court, the time for noting an appeal has expired, and any appeal
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